Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 1 of 8




                EXHIBIT 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 2 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 3 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 4 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 5 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 6 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 7 of 8
Case 1:20-cv-03538-GLR Document 208-9 Filed 03/18/21 Page 8 of 8
